                                            SUICIDE RISK ASSESSMENT

     HA VE YOli EVER THOUGHT ABOUT DOING A.t'lYTHli'lG TO HURT YOURSELF OR TO COMMIT SUICIDE?

     NO --          YES   L     IF YES, WH.A.Tw AS HAPPENING WHEN YOU WERE HAVING THOSE THOUGHTS?



B.    HA VE YOU EVER TRIED TO HURT YOURSELF OR COM,."l\IITSUICIDE?                                 NO             YES
     IF YES, COMPLETE THE FOLLOWING:


          I) HOW MANY TIMES?
                                     I
                                         7 t:tc   ~
          2) \VHEN WAS THE FIRST TThIE?               4    r64k!         fi        £7 o /     1/ J/:r S           old
          3) WERE YOU ALONE OR WITH OTHERS AT THE TIME? -~o_~/_o_vt.~t:::::
                                                                    __________                                                                 _

          4) WHAT METHOD(S) DID YOU TRY? __                            5-+-'1-=•hc...:cc.?-.--------------
                                                              /2--.,,;_c...~n
                                                                     ....
          5) WHEN WAS THE MOST RECENT TIME? _                             _.._f'Zrt'-"'-"d'-1-i,~/',_,~~---=-6-.=;f}~cr"-----------
                                                                   _...s@,.,._t


          6) WERE YOU ALONE OR WITH OTHERS AT THE TIME? -"'-a.....,/4;...,o""'n'-'-----e...
                                                                       __________                                                          _
          7) \VHAT METHOD(S) DID YOU TRY? ____ 0.---"C,,t...._.,___
                                                                 _______________                                                           _

          8) HAVE YOU BEEN HOSPITALIZED AFTER ANY OF THESE ATTEMPT(S)?                                   __,JZ_O
                                                                                                             ______                        _
          9) WHAT TREATMENT SERVICES DID YOU RECEIVE AFTER YOUR ATTEMPT(S)? __ /?_o_.,;,,_c..~---
                                                                       f'--L( A
     DO YOU HAVE ANY FAMILY1"1EMBERS OR FRIENDS WHO HAVE ATTEMPTED OR COMMITTED SUICIDE?

     NO            YES~         IF YES, WHO?       4-(1,::::../-c         1,.,c13             WHEN:         <t1/yr'.s 4.y             c)




D.   HOW LIKELY DO YOU THINK YOU WOULD BE TO HURT YOURSELF AT TillS TIME?

     VERY LIKELY_             SOMEWHAT LIKELY_               NOTVERYLIKELY_                       DEFINITELYWOULDNOT          L
     IF CHECKED, IF YOU WERE TO HURT YOURSELF, WHAT WOULD YOU DO? (CHECKING FOR A SPECIFIC PLAN)

      Q,(/1..v·ck     t:ind       e"4:so          Sh.,ol      /4 'f               Se/.C




I, _____________                              _, HA VE VOLUNT A.RILY COMPLETED THIS FORM.
                   (PRINT NAME)


RESIDENTS SIGNATURE __________                                        _                   DATE:    /2.,ILf.,,1{(1

STAFFisIGNATURE~4-=                                                                                               TIME:     "r.¥6          A.t\1/~



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            CONFIDENTIAL                                                                                             MCCOYS 24
